           Case 2:07-cr-00165-TLN-KJN Document 287 Filed 09/13/11 Page 1 of 2




 1

 2

 3

 4

 5

 6

 7

 8                            IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,

11                  Respondent,                           No. 2:07-cr-0165 LKK KJN

12          vs.

13   LUIS MANUEL SANCHEZ ACEVES,

14                  Movant.                               ORDER

15                                           /

16                  Movant, a federal prisoner proceeding without counsel, with a motion to vacate,

17   set aside or correct his sentence pursuant to 28 U.S.C. § 2255. The matter was referred to a

18   United States Magistrate Judge pursuant to 28 U.S.C. § 636(b)(1)(B) and Local Rule 302.

19                  On August 12, 2011, the magistrate judge filed findings and recommendations

20   herein which were served on all parties and which contained notice to all parties that any

21   objections to the findings and recommendations were to be filed within twenty-one days. On

22   August 19, 2011, movant filed what the court is construing as objections to the findings and

23   recommendations.

24                  In accordance with the provisions of 28 U.S.C. § 636(b)(1)(C) and Local Rule

25   304, this court has conducted a de novo review of this case. Having carefully reviewed the entire

26   file, the court finds the findings and recommendations to be supported by the record and by

                                                     1
           Case 2:07-cr-00165-TLN-KJN Document 287 Filed 09/13/11 Page 2 of 2




 1   proper analysis.

 2                  Accordingly, IT IS HEREBY ORDERED that:

 3                  1. The findings and recommendations filed August 12, 2011, are adopted in full;

 4                  2. Respondent’s motion to dismiss (Dkt. No. 279) is granted;

 5                  3. Movant’s motion to vacate, set aside, or correct his sentence pursuant to 28

 6   U.S.C. § 2255 (Dkt. No. 271) is dismissed; and

 7                  4. The clerk of the court is directed to close the companion civil case 2: 11-cv-

 8   1472 LKK KJN.

 9   DATED: September 13, 2011.

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

                                                      2
